IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,

“ wo. OSU 0-12 S “02

CHRISTIAN R. GILBERT,

 

Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Timothy A. Garrison, United States Attorney, and Casey Clark, Assistant
United States Attorney, and the defendant, Christian R. Gilbert (“the defendant”), represented by
Branden Twibell, of Twibell Pierson Criminal Law.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
the sole count of the Information charging him with a violation of 18 U.S.C. § 641, that is, theft of
government property. By entering into this plea agreement, the defendant admits he knowingly

committed this offense, and is in fact guilty of this offense.

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3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the
offense to which he is pleading guilty are as follows:

On or between October 3, 2019, and continuing through February 20, 2020, the defendant,
Christian R. Gilbert, a resident of Taney County, Missouri, cut and removed numerous
Eastern Red cedar trees from land owned by the United States Army Corps of Engineers
(“USACE”), an agency of the United States government. This USACE land included
acreage near the Tulley’s Run Road area along Beaver Creek, in Taney County and within
the Western District of Missouri. The defendant cut and removed these trees without the
permission of the USACE, which owned and managed this land. After removing the timber
from the USACE land during this time, the defendant then converted it to his own use by
selling the timber to sawmills in the area for profit, including to Whittaker Cedar Sawmill
in Bradleyville, Missouri, also a location in the Western District of Missouri. During this
time period, the defendant sold at least 381 Eastern Red cedar posts to Whittaker Cedar
Sawmill. Each post sold was 52 inches in length and five to eight inches in diameter.

On February 20, 2020, a resident of Taney County, Missouri, observed the defendant

sawing timber on USACE land near Tully’s Run Road. Law enforcement responded to the

area and encountered the defendant. The defendant fled law enforcement in his 1999 Ford

F-250 truck, before abandoning the vehicle during the pursuit. A trooper from the Missouri

State Highway Patrol located the defendant’s abandoned truck and observed Eastern Red

cedar posts in the bed of the truck.

For purposes of the defendant’s plea to the sole count of the Information, the defendant

further admits that he voluntarily, intentionally, and knowingly stole timber of the United

States and converted the timber to his own use, and that the defendant did so with the intent

to deprive the United States of the use or benefit of such timber.

4, Use_of Factual Admissions and Relevant Conduct. The defendant
acknowledges, understands and agrees that the admissions contained in Paragraph 3 and other
portions of this plea agreement will be used for the purpose of determining his guilt and advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the
calculation of the defendant’s offense level in accordance with U.S.S.G. §1B1.3(a)(2). The
defendant acknowledges, understands and agrees that all other uncharged related criminal activity

may be considered as “relevant conduct” pursuant to U.S.S.G. §1B1.3(a)(2) in calculating the

offense level for the charge to which he is pleading guilty.

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5. Statutory Penalties. The defendant understands that upon his plea of guilty to the
sole count of the Information charging him with theft of government property in violation of 18
U.S.C. § 641, the minimum penalty the Court may impose is probation, while the maximum
penalty the Court may impose is not more than one year of imprisonment, a $100,000 fine, one
year of supervised release, an order of restitution, and a $25 mandatory special assessment per
misdemeanor count of conviction which must be paid in full at the time of sentencing. The
defendant further understands that this offense is a class A misdemeanor.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to
the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable;”

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of not more than one year for the offense; and that the
Court must impose a period of supervised release if a sentence of imprisonment of
more than one year is imposed;

d. if the defendant violates a condition of his supervised release, the
Court may revoke his supervised release and impose an additional period of
imprisonment of up to one year for the charge, without credit for time previously
spent on supervised release. In addition to a new term of imprisonment, the Court
also may impose a new period of supervised release, the length of which cannot
exceed one year, less the term of imprisonment imposed upon revocation of the
defendant’s first supervised release;

Gs the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

E any sentence of imprisonment imposed by the Court will not allow
for parole;

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g. the Court is not bound by any recommendation regarding the
sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office;

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court;

as Government’s Agreements. Based upon evidence in its possession at this time,
the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against the defendant for any federal criminal
offenses related to his theft of government property, namely timber, for which it has venue and
which arose out of the defendant’s conduct described above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation —
of the dismissed or additional charges against him if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional
charges are initiated against him following a breach of this agreement. The defendant further
understands and agrees that if the Government elects to file additional charges against him

following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

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8. Preparation of Presentence Report. The defendant understands the United States

 

will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and conduct
of the defendant, including the entirety of his criminal activities. The defendant understands these
disclosures are not limited to the counts to which he has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(1)(4) of the Federal
Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

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a. The Sentencing Guidelines do not bind the Court and are advisory
in nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable;”

b. The applicable Guidelines section for the offense of conviction is
U.S.S.G. §2B1.1, which provides for a base offense level of six;

om The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a two-level reduction pursuant to §3E1.1(a)
of the Sentencing Guidelines and an additional one-level reduction, if applicable,
under §3E1.1(b). The Government, at the time of sentencing and, again, if
applicable, will file a written motion with the Court to that effect, unless the
defendant: (1) fails to abide by all of the terms and conditions of this plea agreement
and his pretrial release; or (2) attempts to withdraw his guilty plea, violates the law,
or otherwise engages in conduct inconsistent with his acceptance of responsibility;

d. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

é. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

L The United States agrees not to seek an upward departure from the
Guidelines or a sentence above the Guidelines range. However, the defendant
remains free to seek a downward variance from the Guidelines or a sentence outside
the Guidelines range. The agreement by the Government to not seek a sentence
outside of the Guidelines is not binding upon the Court or the United States
Probation Office and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
“unreasonable;”

g. The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other

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enhancement or adjustment), and any legally authorized increase above the normal

statutory maximum. The defendant waives any right to a jury determination beyond

a reasonable doubt of all facts used to determine and enhance the sentence imposed,

and waives any right to have those facts alleged in the Information. The defendant

also agrees that the Court, in finding the facts relevant to the imposition of sentence,

may consider any reliable information, including hearsay; and,

h. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will

make during his plea colloquy, support the imposition of the agreed-upon

Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by the defendant to be sentenced pursuant to the new Guidelines will make this plea
agreement voidable by the United States at its option. Ifthe Government exercises its option to
void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all
criminal charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by the defendant at
the sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the Information;

c. oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentences imposed and that the United States

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remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and,

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,
acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

C. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against him;

Be the right to compel or subpoena witnesses to appear on his behalf;
and,

f. the right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may
later be used against him in a prosecution for perjury or making a false statement. The defendant
also understands he has pleaded guilty to a misdemeanor offense and, as a result, may be deprived

of certain rights.

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15, Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by
pleading guilty pursuant to this plea agreement he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct.

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court must order restitution to the victim of the offense to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with all other uncharged related criminal activity. The
defendant further agrees that the total amount of restitution reflected in this
agreement results from the defendant’s illegal conduct. The defendant agrees to
pay restitution in an amount not less than $1,428.50 to the United States Army
Corps of Engineers, which is the amount of loss the United States Army Corps of
Engineers suffered due to the defendant’s crime.

All restitution payments shall be paid by check, shall include this case number in
the memo line, and shall be delivered to the Clerk’s office or addressed to the
Clerk’s office at the following address:

United States District Court Clerk’s Office
Western District of Missouri

Charles Evans Whittaker Courthouse

400 E. 9" Street, Rm. 1510

Kansas City, Missouri 64106

b. The defendant agrees to pay restitution as ordered by the Court in
any restitution order entered pursuant to this plea agreement, and that such
restitution is due and payable immediately upon sentencing.

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&. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine.

d. The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant's disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full.

e, The defendant hereby authorizes the United States Attorney’s Office
(“USAO”) to obtain a credit report pertaining to him to assist the USAO in
evaluating the defendant’s ability to satisfy any financial obligations imposed as
part of the sentence.

fi. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $25 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing.

g. The defendant certifies that he has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future.

h. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

i. Within ten days of the acceptance of this plea agreement, at the
request of the United States Attorney’s Office, the defendant agrees to execute and
submit (1) a Tax Information Authorization form; (2) an Authorization to Release

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Information; (3) a completed financial disclosure statement; and (4) copies of

financial information that the defendant submits to the United States Probation

Office. The defendant understands that the United States will use the financial

information when making its recommendation to the Court regarding the

defendant’s acceptance of responsibility;
i: At the request of the United States Attorney’s Office, the defendant

agrees to undergo any polygraph examination the United States might choose to

administer concerning the identification and recovery of restitution.

Li. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted
directly or by a representative, to request or receive from any department or agency of the
United States any records pertaining to the investigation or prosecution of this case including,
without limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C.
§ 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,

all statements made by him to law enforcement agents subsequent to the execution of this plea

agreement, any testimony given by him before a grand jury or any tribunal or any leads from such

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statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20; Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be

enforceable against either party.

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22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

TIMOTHY A. GARRISON
United States Attorney

Dated: | )3| 2020 fo Lb

Casey CLARK
Assistant United States Attorney
Missouri Bar No. 57968

I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the Information. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea
agreement and | voluntarily agree to it.

Dated: (13> 0) (3

CHRISTIAN R. GILBERT
Defendant

 

I am defendant Christian R. Gilbert’s attorney. I have fully explained to him his rights
with respect to the offense charged in the Information. Further, | have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully reviewed
every part of this plea agreement with him. To my knowledge, Christian R. Gilbert’s decision to
enter into this plea agreement is an informed and voluntary one.

Dated: ( “(3-0 Afo-

BRANDEN TWIBELL
Attorney for Defendant

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